Case 3:17-cv-01300-TAD-KLH Document 1-1 Filed 10/12/17 Page 1of11PageID#: 8

NATIONAL REGISTERED AGENTS, INC. pea

SERVICE OF PROCESS SUMMARY TRANSMITTAL FORM
To: LINDAL. EASTMAN, MANAGER, PRODUCT LITIGATION
HYUNDAI MOTOR AMERICA SOP Transmittal # 531 91 1254

10550 Talbert Ave
Fountain Valley, CA 92708-6032
y 800-598-9025 EE gPhone
Entity Served: HYUNDAI MOTOR AMERICA CORPORATION (Assumed Name) (Domestic State: CALIFORNIA)

SEP 15 2017
LEGAL DEPARTMENT

Enclosed herewith are legal documents received on behalf of the above captioned entity by National Registered Agents, Inc. or its Affiliate
in the State of LOUISIANA on this 12 day of September, 2017. The following is a summary of the document(s) received:

1, Title of Action: EVA TAYLOR. PItf. vs. INTERSTATE HYUNDAL INC.. et al., Dfts. // To: HYUNDAI MOTOR
AMERICA CORPORATION

2 Document(s) Served: Other: Citation. Petition

3: Court of Jurisdiction/Case Number: OUACIIITA: 4TH JUDICIAL DISTRICT COURT, LA
Case # C20172837

4, Amount Claimed, ifany: N/A

5. Method of Service:

_X_ Personally served by: _X_ Process Server ___ Law Enforcement ___ Deputy Sheriff ___U. $8 Marshall
___ Delivered Via: ___ Certified Mail ___ Regular Mail ___ Facsimile

____ Other (Explain):
6. Date and Time of Receipt: 09/12/2017 10:18:00 AM CST

~I
*

Appearance/Answer Date: Within 15 days afler receipt
8. Received From: CHRISTIAN C. CREED 9. Carrier Airbill # 1ZY041160194539819

~ CREED & CREED

1805 Tower Drive

Monroe, LA 71207 10. Call Made to: Not required

318-362-0086

Il. Special Comments:
SOP Papers with Transmittal, via UPS Next Day Air

Image SOP
Email Notification, THERESA SAN ROMAN TSANROMAN@HMAUSA.COM
Email Notification, LINDA L. EASTMAN LEASTMAN@HMAUSA.COM

NATIONAL REGISTERED AGENTS, INC. CopiesTo:

Transmitted by Amy McLaren

 

The information contained in this Summary Transmittal Form is provided by National Registered Agents, Inc. for informational purposes only and should not

be considered a legal opinion. It is the responsibility of the parties receiving this form to review the legal documents forwarded and to take appropriate action.

ORIGINAL
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UNIVE EU EE NAT
OPO CV 4797965

GS
CITATION
EVA TAYLOR DOCKET NUMBER: C-20172837
SEC: C3
vs STATE OF LOUISIANA
PARISH OF OUACHITA i
INTERSTATE HYUNDAL, INC., FOURTH JUDICIAL DISTRICT COURT i

HYUNDAI MOTOR COMPANY,
HYUNDAI MOTOR AMERICAN
CORPORATION, STATE FARM
MUTUAL AUTOMOBILE
INSURANCE COMPANY

EAST BATON ROUGE PARISH

TO:
HYUNDAI MOTOR AMERICAN CORPORATION
THROUGH ITS AGENT FOR SERVICE OF PROCESS
NATIONAL REGISTERED AGENTS, INC.
3867 PLAZA TOWER DRIVE
BATON ROUGE, LA 70816

YOU HAVE BEEN SUED.
Attached to this Citation is a certified copy of the Petition. The pctition tells you what
you arc being sued for.

You must HITHER do what the petilion asks, OR, within FIFTEEN (£5) days after you
have received these documents, you must file an answer or other legal pleadings in the

Office of the Clerk of this Court at the Quachita Parish Court Tlouse, 301 South Grand, i
Monroe, Louisiana.

If you do not do what the petition asks, or if you do not file an answer or legal pleading
within FIFTEEN (15) days, a judgment may be entered against you without further
notice. ‘

This Citation was issued by the Clerk of Court for Ouachila Parish, on this AUGUST 28,
2017,

QUACHITA PARISH CLERK OF COURT

Also attached are the following:
PETITION FOR DAMAGES

GWEN STANSELL

By: :
Deputy Clerk i

 

FILED BY: CHRISTIAN C, CREED # 23701 |

cat

SERVICE COPY

FILE COPY

 

 
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4° JUDICIAL DISTRICT COURT FOR THE PARISH OF OUACIITA
STATE OF LOUISIANA

CIVIL ACLION NO. DIVISION:
EVA TAYLOR

“2837 VERSUS

INTERSTATE HYUNDAT, INC., HWYTINDAT MOTOR COMPANY, ITYUNDAL
MOTOR AMERICA CORPORATION, and STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY

AUG 2 B tut?

GWEN STANSELL
DEPUTY ClARK

FTT.EYD:

 

 

PETITION FOR DAMAGES
NOW INTO COURT, through undersigned counsel, comes Petitioner, EVA ‘TAYLOR,
who, upon information and belief, submits as FolHows.
both of whom ace domiciled in Quachita Parith, Louisiana versus NACCO MATERIALS

Atghe time of the i injuries described below, EVA TAYLOR was a resident and citizen

 

No ay
£ &he Stathol Wuigana, Parish of Franklin.
Lid oO.
= TT.
Leal s eh
C3 Vefage j is! reper in this Honorable Court pursuant to the provisions of La. Code Civ.
bAd

Prope res. 2, 745, and 76 because the transaction forming the basis of the claims and causes of

action referenced herein occurred in Ouachita Parish.
TIT.
The following corporations are made Defendants in this action:
A. INTERSTATE, HYUNIDAI, INC., a domestic corporation engaged in the
lusiness of seHing and distributing motor vehicles, including Ilyundai brand vehicles to the
purchasing public. Said defendant has designated John A. Klagholz, 7O? Constitution Drive,

West Monroe, LA 71292 as its agent for service of process.

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CASE RETIN 20 VO:

 
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B.. HYUNDAIMOTOR AMERICA CORPORATION, [hercinafter joindly referrect
toas MEPYUNDAL"| a foreign corporation organized and existing by virtuc of the laws of the
State of California, who was at all material times authorized to do and doing business in the State
of Louisiana, Parish of Ouachita. Said defendant has designared its principal bustness
establishmentin Louisiana as 3867 Plaza Tower Drive, Baton Rouge, LA 70816, and who has
designated National Registered Agents, Inc., 3867 Plaza Tower Drive, Baton Rouge, LA 70816
as its agent for service of process.

C. HYUNDAT MOTOR COMPANY, fhereinafter jointly referred to as
“EEYUNDAI" | a foreign corporation authorized to do and doing business in the State of
Louisiana, who, having failecl to designate an agent for service of process, is deemed to have
appointed the Louisiana Secretary of State as its agent for service of process on causes of action
arising within the Seate of Louisiana. Said entiry has engaged io a regular and systematic course
of business in Louisiana and is subject to both general and specific jurisdiction as a resul: of its
sales and marketing «fforts within this juriseiction.

dD, STATIZ FARM MUTUAL AUTOMOBILE INSURANCE
COMPANY, [hercinafier “STATE PARM”"), a foreign insurance corporation organized under
the laws of a state other than Louisiana, but authorized co do and cdloing business in the State of
Louisiana, Said Defendant had all material times appointed the Louisiana Sceretary of State,
8585 Archives Avc., Baton Rouge, LA 70809 as its aygenr for service of process.

IV.

Atall material times, EVA TAYLOR was the owner and operator of a 2014 Hyundai

Elantra, bearing VIN KMHDH4AROBUI163500. ,
Vv.

EVA TAYT.OR had purchased the said 2014 Hyundai Elantra from INTERSTATE
HYUNDAT, ING, in West Monroe, LA and was induced to make the purchase by a specific and
concrete representation by the sales representatives of that establishment that the driver's
primary and side airbags as well as seat belt pre-tensioner would deploy in a foresecable crash

te proevicle occupant procection to the driver.

 

 

 
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See ET,

VI.

Without the specific inducement of occupant protection by che airbag system and pre-
tensioner restraint system, Pecitioner would not have agreed to the purchase of the said vehicle
to replace her 2013 Hyundai Blantra.

VIt.

On 29 August 2016, at approximately 1930 hours, Petigianer, EVA TAYLOR was
proceeding in a westerly direction on U.S. Interstate 20 nearing Vicksburg, MS when an
unidentified vehicle in front of her suddenly and without warning switched Janes ince
Petitioner's lane, creating a sudden emergency to prevent a crash into the rear of che unidentified
vehicle,

VEIL

Petitioner was able to avoid a collision with the unidentificd vehicle, buras a result of
evasive maneuvers she was forced co take, lost control of her vehicle. Her vehicle entered the
neutral ground and rolled over before coming to a forceful stop.

. Ix,

During the ceash in which che vehicle was subjected to significant rotational and frontal

forces, none of the airbags deployed. .
x,

In additian, the pre-teasioner for che employed lab/shouilder belr did not activate, thus

allowing Petitioner to move forward and strike the frone windshield with her face and head,
SI.

The impact caused extensive damage to the entirety of EVA TAYLOR’s 2014 Ifyundai
Elantra, and the natire and extent of such impact and rotational forces should have triggered
the deployment of both the airbags anc the seat belt pre-tensioners.

XH.
RVA TAYLOR sustained significant injuries, principally as a result of the failure of the

airbag protactive system on which she relied to provide sufficient protection to her.

 

 

 
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MUI.

The afore -cescribed crash was not canscdl or contribute to by any action ar inaction of
Peutioner, LVA TAYLOR, who was operating her vehicle in accordance wich all traffic
regulations, but was caused solely through the negligence of an unidentified vehicle.

IV.

Ar all material times, STATE FARM was the public lability insurance carrier for
Petitioner, BVA ‘TAYT.OR and such insusance coverage included policy provisions for
uninsured and underinsured motorist protection. Said coverage extended to protection from
unidentified responsible vehicles like the vchicle which precipicaced rhe crash in question.

XV.

The vehicle which suddenly crossed inte Petitioner's lane of travel departed the accidence
scene without being idenufied, thus triggering the uninsured mororist protection provisions of
the insurance coverage provided by STATE FARM,

AVI,

When Petitioner was contacted about purchase of the vehicle in question, after being
shown the vehicle anc before agrecing to purchase same from INTERSTATE EPYUNDAI,
INC., she specifically inquired into the crash-protective systems of the subject 2014 Hyundai
Filantra,

SOVIT.

Petitioner was specifically assured that the vehicle was equipped with both frontal and
side air bags which, in conjunction with the included lap/shoulder restraint system would
provide ample driver protection in the event of a crash.

XVII,
Post-crash testing of the clectronic data recorder for the subject 2014 Hyundai Elantra

reveals that the airbag system sent engagement signals to both the frontal/side airbags and the

 

pre-tensioner for the shoulder harness, bur that ncither system responded to those commands.
XTX.
The subject 2014 Hyundai Elantra was designed, manufactured, marketed, and sold by

defendant, ITYUNDAT MO'VOR COMPANY to its United Srates nationwide distributor,

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LYUNDAT MOTOR AMERICA, INC. who in turn sole the vehicle co INTERSTATE
HYUNTDAT, INC. for sale to the general public.
KX.

‘Che subject 2014 Hyundai Blantea was marketed by both HYUNDAI endties as safe anc
securcand outfitted with multiple airbag syscems to protect the vchicle’s occupants from injuries
in reasonably anticipated collision scenarios.

OK

Upon information anc belief, the subject 2014 Ilyundai Elantra was tesicd for occupant
prorection through the use of HYUNDAT designs and/or specifications for frontal and side
airbag systerns ancl in an anticipated crash of che same parameters as the subject crash was found
to lessen or prevent occupant injuries when the airbag systerm/restraint system: properly
deployed.

ACXTY,

In the marketing, advertising, and sale of the subject 2014 Hyundai Blanera, the
HYUNIDAT defendants warranted that the airbag system/restraint system would protect
occupants in reasonably forcsecable crashes like the crash in question.

SONTTT.

When the subjece vehicle was placed into the stream of commerce, the vehicle contained
muoufacturing and construction deficiencies that failed to comply with the design and
manufacturing specifications for occupant protection as well as airbag occupant protection
systems.

SORTV,

As a result of the failure of the airbag systems to deploy and the seat bel pre-tensioners
to deploy, the injuries sustained by EVA ‘TAYI.OR were significantly worse than they would
have been had the vehicle not contained design and/or manufacturing defects.

MOXY.

The HYUNDAI airbag system was defective in design in either failing to deploy under

a reasonably foreseeable crash event, failing to properly sense the crash parameters involved, or

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in failing to recognize that the seat belt pre-tensioner was necessary vw provide adequate
Occupant protecion,
AXVIL

Altcroatively, the airbag system/restraint system failed to operate as designed and
interided, and as a cesule of that failure ta deploy, causcel injuries to BVA TAYLOR thar would
not have heen sustained in this crash if the airbag system and restraint system had properly
funnceioned.

AX VIT.

Alternatively, the EDYUNDAT defendants warranted that the airbag system and restraint
system would deploy and provide occupant safety Protection under the crash conditions in
question and the fathare to so deploy consticutes a breach of that performance warranty. That
breach of warranty made the vehicle unreasonably dangerous.

SOVITE.

Atrernatively, the HYUNDAT defendants failed to warn that the side airbag system and
scat belt restraint system mighe noc fanction and might net deploy in reasonably foreseeable
crash conditions and the failure to warn made the vehicle unreasonably cangerous.

XTX.

The design, manufacture or construction, breach of watranty, and/or failure to warn
deficiencies in the subject 2014 Hyundai Elantra in question existed when the subjece vchiele
was placed into the stream of commerce, and the HYLINDAT defendants failed to exercise that
degree of expertise reasonably expected of manufacturers in the design and testingr and
manufacture of airbag systems and restraint systems for the vehicle in question.

XXX.

As oa direct and proximate result of the promises, actions, and inactions of
INTERSTATE ITYUNDAL, INC., as well as the defective conditions of the 2014 Flyundai
Blantra, EVA TAYT.OR, has suffered the following damages:

A. past and furure physical pain and suffecing:

b. past and future mental anguish;

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c. past ancl future miccical care expenses;
d. past and future loss of enjoyment of life; and
c. pase ane future economic losses.

XOCKT.

The accident anc serious injuries to EVA TAYLOR were due to the fauh, neglect,

omission, or commission of the HYUNIDAT defendants in the following non-exclusive

particulars:
a. Failure to design and adequately test a reasonably safe product:
b, Pailure to warn of hazards of which it either knew or should have known;
c. Failure to comply with express or implied warranties of fitness for normal use;
d, Faihare ¢o assure the airbag system anel reseraint sysiem in the vehicle in guestion
met the internal standards of HYUNDAL and/or its parts suppliers; and
a. ‘Such further and other acts Of neglect, fault, omission, or com#nission to be

proven at the evial of this cause.
SORXIT.

Plaintiff reserves the righe to altcr or amend the Prior paragraph after examination and
testing of the airbag system and restraint, system in question in conjuncdon with disclosure of
internal WYUNDAT engineering and performance standards.

AOS OTIE,

WHEREFORE, Plaintiff, EVA TAYLOR, prays for the following:

(1) for judgment against Defendants, INTERSTATE AYUNIDAT, INC,
AYUNDAT MOTOR COMPANY, ITYUNDAI MOTOR AMERICA
CORPORATION, and STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY, jointly and in sofide, in compecnsation for the
damages alleged in such amounts as the trier of fact may determine to be fair and
reasonable under the circumstances:

(@) for taxable costs and legal interest on all of the amounts prayed for above, from
dace of judicial demand until paid; and

-7.

 

 

 

 

 
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(3) for such furrher and other relief as justice and equity may warrant under the

circumstance.

Respectfully Sulmiceed:

CREED & CREED
1805 Tower Drive

P.O”. Drawer 14136
Monroe, LA 71207
Telephone: 318-362-0086
Facsimile: 318-362-8219

CHRISTIAN C. CREBD (LA Bar No. 237013
EMail: christian@dcreedlaw.com a? 70 {|

 

ariel

JAMES D. “BUDDY” CALDWETLI.
I. ©. Box 43
‘Tallulah, LA 71284
a” or -
96 Marianna Street

Richmond, L, $2
repped 98030

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anc

MICIIALI. J. MESTAYER, A PROFESSIONAL.
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Facsimile: 504-522-7356

MICHAEL J. MESTAYER (LK Bar No. 09461)

eMail: mmestayer(@mesrayerlovalcom OTE SE f

Attorneys for Petitioner, EVA 'LAYILOR

PLEASH SUE THE NEXT PAGE FOR SERVICE INFORMATION. THANKS

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PLEASE SERVE:

1.

INTERSTATE LYUNDAL, INC.

through its registered agent for service of process:
John A. Klagholz

FOIL Constitution Derive

West Monroe, LA 71292

LIYUNDAI MOTOR COMPANY

through its repistered agent for service of process:
Louisiana Secretary of State

8585 Archives Avenue

Baton Rouge, LA 70809

HYUNDAI MOTOR AMERICA CORPORATION
through its agent for service of process:

National Registered Agents, Inc.

3867 Plaza Tower Drive

Gaton Rouge, LA 70816

STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY

through its agent for service of process:
Louisiana Secretary of State

8585 Archives Avenue

Baton Rouge, T.A 70809

Filed 10/12/17 Page 11 of 11 PagelID#: 18

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